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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

JAMES LIPINSKI,

       Plaintiff,

v.                                                       Case No. 6:18-cv-1076-Orl-37GJK

JOHN BARRY AND ASSOCIATES,
INC.,

      Defendants.
_____________________________________

                                ORDER OF DISMISSAL

       This cause is before the Court upon the Notice of Pending Settlement (Doc. 26)

filed on August 21, 2018 by the Plaintiff indicating that this case has settled. Accordingly,

it is ORDERED AND ADJUDGED:

       1.      That the above-styled cause is hereby DISMISSED WITH PREJUDICE,

              subject to the right of any party to move the Court within sixty (60) days

              thereafter for the purpose of entering a stipulated form of final order or

              judgment; or, on good cause shown, to reopen the case for further

              proceedings.

       2.     All pending motions are denied as moot and all deadlines and hearings are

              terminated.

       3.     The Clerk is DIRECTED to close this file.

       DONE AND ORDERED in Chambers in Orlando, Florida, on August 22, 2018.



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Copies to:
Counsel of Record




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